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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                            4:14CR00080-6 KGB


TISAN KEION BATES


      ORDER FOR DESIGNATION OF PSYCHOLOGICAL FACILITY
              AND PSYCHOLOGICAL EVALUATION

      The Defendant has a history of treatment for bipolar disorder and schizophrenia

at the Arkansas State Hospital. During his April 22, 2014 Plea and Arraignment, his

attorney and the Assistant United States Attorney jointly requested that Defendant

undergo a psychological examination pursuant to 18 U.S.C. §§ 4241 and 4242. The

parties’ oral Motion for Psychological Examination is GRANTED.

      The United States Marshal for the Eastern District of Arkansas is directed to

immediately notify the undersigned United States Magistrate Judge and United States

District Judge Kristine G. Baker upon receipt of Defendant’s facility designation for

the psychological evaluation. Pursuant to 18 U.S.C. § 3161(h)(1)(A), this time period

is excludable under the Speedy Trial Act.
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IT IS SO ORDERED this 23nd day of April, 2014.



                              ___________________________________
                              UNITED STATES MAGISTRATE JUDGE




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